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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov
In re:
CFRA HOLDINGS, LLC                                          Case No. 8:20-bk-03608-CPM
                                                            Chapter 11

                                                            Jointly Administered with:
CFRA, LLC                                                   Case No. 8:20-bk-03609-CPM
CFRA TRI-CITIES, LLC                                        Case No. 8:20-bk-03610-CPM

      Debtors.
______________________________________/

                                STANDARD MONTHLY OPERATING REPORT
                              (BUSINESS) FOR DEBTOR CFRA TRI-CITIES, LLC
                            FOR THE PERIOD FROM MAY 6, 2020 TO MAY 31, 2020

Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.

                                                           /s/ Aaron S. Applebaum
                                                           Attorney for Debtor’s Signature

Debtor's Address                                           Attorney's Address
and Phone Number:                                          and Phone Number:
1340 Hamlet Avenue                                         SAUL EWING ARNSTEIN & LEHR LLP
Clearwater, FL 33756                                       1037 Raymond Blvd., Suite 1520
t.pruban@focusmg.com                                       Newark, NJ 07102-5426
                                                           Tel: 973.286.6714
                                                           aaron.applebaum@saul.com


Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Program Website, http://www.usdoj.gov/ust/r21/reg_info.htm
1)      Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report
2)      Initial Filing Requirements
3)      Frequently Asked Questions (FAQs)http://www.usdoj.gov/ust/


                                 SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                        FOR THE PERIOD BEGINNING MAY 6, 2020 AND ENDING MAY 31, 2020

                                                   MOR-1
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Name of Debtor: CFRA TRI-CITIES, LLC                  Case Number Case No. 8:20-bk-03610-CPM
Date of Petition: May 6, 2020
                                                          CURRENT                      CUMULATIVE
                                                           MONTH                 PETITION TO DATE
1. FUNDS AT BEGINNING OF PERIOD                          $7,137         (a)     $7,137          (b)
2. RECEIPTS:
      A. Cash Sales                                     $0                     $0
         Minus: Cash Refunds                             (-)                   $0
         Net Cash Sales                                 $0                     $0
      B. Accounts Receivable                            $0                     $0
      C. Other Receipts (See MOR-3)                     $0                     $0

3. TOTAL RECEIPTS (Lines 2A+2B+2C)                         $0                      $0
4. TOTAL FUNDS AVAILABLE FOR
   OPERATIONS (Line 1 + Line 3)                            $7,137                       $7,137
5. DISBURSEMENTS
         A. Advertising
         B. Bank Charges                                    $210                      $210
         C. Contract Labor
         D. Fixed Asset Payments (not incl. in “N”)
         E. Insurance
         F. Inventory Payments (See Attach. 2)
         G. Leases
         H. Manufacturing Supplies
         I. Office Supplies
         J. Payroll - Net (See Attachment 4B)
         K. Professional Fees (Accounting & Legal)
         L. Rent
         M. Repairs & Maintenance
         N. Secured Creditor Payments (See Attach. 2)
         O. Taxes Paid - Payroll (See Attachment 4C)
         P. Taxes Paid - Sales & Use (See Attachment 4C)
         Q. Taxes Paid - Other (See Attachment 4C)
         R. Telephone
         S. Travel & Entertainment
         Y. U.S. Trustee Quarterly Fees
         U. Utilities
         V. Vehicle Expenses
         W. Other Operating Expenses (See MOR-3)
6. TOTAL DISBURSEMENTS (Sum of 5A thru W)                    $210                  $210
7. ENDING BALANCE (Line 4 Minus Line 6)                      $6,927             (c) $6,927                    (c)
I declare under penalty of perjury that this statement and the accompanying documents and reports are true
and correct to the best of my knowledge and belief.
This 22nd day of June, 2020.                              /s/ J. Tim Pruban, Chief Restructuring Officer
                                                               (Signature)
(a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)This figure will not change from month to month. It is always the amount of funds on hand as of the date of
   the petition.
(c)These two amounts will always be the same if form is completed correctly.




                                                    MOR-2
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                        MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                                 Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

                                                                                Cumulative
             Description                               Current Month           Petition to Date

None




TOTAL OTHER RECEIPTS                                 ________________        _________________

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties
directors, related corporations, etc.). Please describe below:

                                 Source
 Loan Amount                    of Funds                   Purpose                    Repayment Schedule
None                                                 ___________________             __________________




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line
5W.
                                                                           Cumulative
        Description                                Current Month            Petition to Date
 None




TOTAL OTHER DISBURSEMENTS                            ______________         ________________




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




                                                     MOR-3
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CFRA Tri‐Cities, LLC                                  ‐
Balance Sheet at 5/31/2020                            ‐

ASSETS                                               ‐
10010 ∙ WF Operating                      $        6,927
11000 ∙ Accounts Receivable                       34,860
Inventory                                            ‐
Prepaid Expenses and Other Current Assets          1,765
Total Current Assets                              43,552

                           Office Furniture $     10,810
                            Office Fixtures          ‐
                     Restaurant Equipment         27,571
                  Leasehold improvements         135,731
                         Construction costs          ‐
                                  Remodel        330,898
                    Construction in process          ‐

TOTAL ASSETS                                $    592,114

LIABILITIES and STOCKHOLDERS EQUITY
Accounts Payable                            $     93,995
20010 ∙ Accounts Payable Post Petition               905
Accrued Rent ‐ Pre‐Petition                       10,401
Accrued Rent ‐ Post‐Petition                      43,339
Schedule E / F ‐ Part 1                            2,467
Schedule E / F ‐ Part 2 (Employee claims)          4,916
20100 ∙ Loan‐DIP Lender                              ‐
Valley National Bank ‐ PrePetition             8,269,316
Raymond James Bank                          $ 11,276,340


Net Income                                  $    (44,245)
Other Adjustments                            (19,065,322)

TOTAL LIABILITIES & EQUITY                  $    592,114

Goodwill and other intangibles have not been included in the balance sheet.
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                 CFRA TriCities
               Income Summary
                May 6 ‐ 31, 2020

Revenue                                   $         ‐
Total COGS
Gross Profit                              $         ‐

Expense
68600‐1 ∙ Utilities ‐ Post Petition       $         905
68600 ∙ Utilities ‐ Pre Petition                    ‐
Rent Expense                                     43,339
Total Expense                             $      44,245

Net Income                                $     (44,245)
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                                                  ATTACHMENT 1

                  MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor: CFRA TRI-CITIES, LLC                             Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                           Period ending May 31, 2020

ACCOUNTS RECEIVABLE AT PETITION DATE:                              May 6, 2020

                           ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received):

             Beginning of Month Balance                          $34,840               (a)
               PLUS: Current Month New Billings
               MINUS: Collection During the Month                $0                      (b)
               PLUS/MINUS: Adjustments or Writeoffs              $0                       *
             End of Month Balance                                $34,840                (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:



                              POST PETITION ACCOUNTS RECEIVABLE AGING
                           (Show the total for each aging category for all accounts receivable)

               0-30 Days         31-60 Days       61-90 Days       Over 90Days Total

          $0                    $0               $0               $0                    $0              (c)


For any receivables in the “Over 90 Days” category, please provide the following:

                                Receivable
      Customer                   Date           Status (Collection efforts taken, estimate of collectability,
                                                write-off, disputed account, etc.)
             Ecolab              2019           Accrued amount at date of filing
             CSCS                2019           Accrued amount at date of filing

(a)This number is carried forward from last month’s report. For the first report only, this number will be
   the balance as of the petition date.
(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c)These two amounts must equal.




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                                           ATTACHMENT 2
                        MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: CFRA TRI-CITIES, LLC                                  Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                                Period ending May 31, 2020

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include
amounts owed prior to filing the petition. In the alternative, a computer generated list of payables may be attached
provided all information requested below is included.

                                       POST-PETITION ACCOUNTS PAYABLE
 Date                      Days
Incurred                 Outstanding       Vendor                     Description                                  Amount
See attachment

TOTAL AMOUNT                                                                                                                (b)
☐ Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
  documentation.

            ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance                              $ n/a                  (a)
  PLUS: New Indebtedness Incurred This Month $44,245
  MINUS: Amount Paid on Post Petition,
          Accounts Payable This Month        $
  PLUS/MINUS: Adjustments                    $                    *
Ending Month Balance                         $44,245               (c)

*For any adjustments provide explanation and supporting documentation, if applicable.

                                       SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a
modification agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee
Program prior to completing this section).
                                                                        Number             Total
                                    Date                                of Post            Amount of
Secured                             Payment           Amount            Petition           Post Petition
Creditor/                           Due This          Paid This         Payments           Payments
Lessor                              Month             Month             Delinquent         Delinquent
  None




TOTAL                                                                       (d)
(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




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                CFRA TriCities
                Post Petition
                May 31 ,2020

Vendor                           TOTAL
BrightRidge                          871
Johnson City Utility System           34
TOTAL                                905

IHOP Rent Payable
            STORE                Amount
Store #589                        16,625
Store #4435                       12,411
Store #4440                       14,304

IHOP Payable                      43,339

Total Payable                     44,245
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                                          ATTACHMENT 3
                                 INVENTORY AND FIXED ASSETS REPORT

Name of Debtor: CFRA TRI-CITIES, LLC                         Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                       Period ending May 31, 2020

                                            INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:                          $ n/a
INVENTORY RECONCILIATION:
      Inventory Balance at Beginning of Month                $   n/a                                (a)
        PLUS: Inventory Purchased During Month               $   n/a
        MINUS: Inventory Used or Sold                        $   n/a
        PLUS/MINUS: Adjustments or Write-downs               $   n/a                                 *
      Inventory on Hand at End of Month                                $ n/a

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                             INVENTORY AGING

             Less than 6    6 months to     Greater than     Considered
             months old     2 years old     2 years old      Obsolete        Total Inventory

                        %            %                 %                 %      =              100%*

* Aging Percentages must equal 100%.
☐ Check here if inventory contains perishable items.

Description of Obsolete Inventory:

                                           FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE: n/a                                     (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only):        Information taken from the Schedules filed with the SOFAS


FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                  $505,010                          (a)(b)
        MINUS: Depreciation Expense                           $
        PLUS: New Purchases                                   $
        PLUS/MINUS: Adjustments or Write-downs                $                                 *
Ending Monthly Balance                                        $505,010

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:
(a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.


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                                                   ATTACHMENT 4A

                         MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: CFRA TRI-CITIES, LLC                             Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                           Period ending May 31, 2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Synovus                                      BRANCH:        n/a
              Wells Fargo

ACCOUNT NAME: Synovus                                        ACCOUNT NUMBER: *******-426-1
                                         Focus Management Group USA as
                                         Debtor-in-Possession for CFRA, LLC

                             Wells Fargo CRFA Tri-Cities, LLC                        *******-3510

PURPOSE OF ACCOUNT:                       OPERATING ACCOUNT

                                                                 Wells             Synovus
Ending Balance per Bank Statement                                $6,927
Plus Total Amount of Outstanding Deposits                        $
Minus Total Amount of Outstanding Checks and other debits        $                           *
Minus Service Charges                                            $
Ending Balance per Check Register                                $6,927                      **(a)

*Debit cards are used by Not applicable

**If Closing Balance is negative, provide explanation: Not applicable


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date                   Amount        Payee               Purpose               Reason for Cash Disbursement




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                 $________________Transferred to Payroll Account
                                 $________________Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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CFRA Tri-Cities LLC
Wells Fargo Bank Transactions
Operating
Account #               3510


Date        Debit       Credits       Amount     Check Number Description
   5/6/2020                           $ 7,137.18              Opening Bank Balance
  5/11/2020   ($209.94)               $ 6,927.24              CLIENT ANALYSIS SRVC CHRG 200508
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                                                      Statement of Account
                                                      Last statement:      May 22, 2020
                                                      This statement:      May 31, 2020
                                                      Total days in statement period: 10
                                                              -426-1         031      165
                                                      Page 1 of 1


    FOCUS MANAGEMENT GROUP USA INC                    Direct inquiries to:                  0
    AS DEBTOR-IN-POSSESSION FOR                       800-334-9007
    CFRA TRI-CITIES LLC
    5001 W LEMON ST
    TAMPA FL 33609-0000




                           Summary of Account Balance
Account                                     Number                                 Ending Balance

Commercial Checking                             -426-1                                          $0.00



Commercial Checking                    Account Number                 -426-1

Beginning balance                    0.00
Deposits/Credits                     0.00        Low balance                                     0.00
Withdrawals/Debits                   0.00        Average balance                                 0.00
Ending balance                       0.00        Average collected balance                       0.00
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                                        ATTACHMENT 5A

                          CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: CFRA TRI-CITIES, LLC                   Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                 Period ending May 31, 2020

NAME OF BANK: Synovus                                    BRANCH: n/a
              Wells Fargo

ACCOUNT NAME: Synovus                   Focus Management Group USA, Inc., as Debtor-in-
                                        Possession for CFRA, LLC
                          Wells Fargo   CFRA Tri-Cities, LLC

ACCOUNT NUMBER: Synovus *******-426-1
                Wells Fargo *******-3510

PURPOSE OF ACCOUNT:                     OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

                 CHECK
DATE             NUMBER      PAYEE                  PURPOSE                             AMOUNT




TOTAL                                                                               $




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                                             ATTACHMENT 4B

                        MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor: CFRA TRI-CITIES, LLC                            Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                          Period ending May 31, 2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.
A standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm.
http://www.usdoj.gov/ust/

NAME OF BANK: Wells Fargo                                BRANCH:

ACCOUNT NAME: CFRA Tri-Cities, LLC                        ACCOUNT NUMBER: ******-3523

PURPOSE OF ACCOUNT:                       PAYROLL

             Ending Balance per Bank Statement                                  $ 0
              Plus Total Amount of Outstanding Deposits                         $
              Minus Total Amount of Outstanding Checks and other debits         $                        *
              Minus Service Charges                                             $
             Ending Balance per Check Register                                  $ 0                       **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized
by United States Trustee)

Date       Amount                 Payee               Purpose          Reason for Cash Disbursement
 Not applicable

The following non-payroll disbursements were made from this account:

Date            Amount          Payee       Purpose                    Reason for disbursement from this
                                                                       account

_____
_____
_____

(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                           ®
WellsOne Account
Account number:                   3523    ■   April 30, 2020 - May 27, 2020     ■   Page 1 of 2




                                                                                         Questions?

                                                                                         Call your Customer Service Officer or Client Services
                                                                                          1-800-AT WELLS (1-800-289-3557)
CFRA TRI-CITIES LLC                                                                       5:00 AM TO 6:00 PM Pacific Time Monday - Friday

PAYROLL
1340 HAMLET AVE                                                                          Online: wellsfargo.com
CLEARWATER FL 33756-3332                                                                 Write: Wells Fargo Bank, N.A. (182)
                                                                                                  PO Box 63020
                                                                                                  San Francisco, CA 94163




Account summary
                ®
WellsOne Account
Account number                    Beginning balance                    Total credits                   Total debits                Ending balance
          3523                                $0.00                         $49.75                         -$49.75                          $0.00


Credits
 Electronic deposits/bank credits
 Effective     Posted
 date          date                       Amount        Transaction detail
               04/30                       49.75        ZBA Balance Account Transfer From 2                    510
                                          $49.75        Total electronic deposits/bank credits

                                           $49.75       Total credits



Debits
 Checks paid
 Number                        Amount  Date     Number               Amount  Date
 44331                          38.24 04/30     44555 *               11.51 04/30
                                         $49.75     Total checks paid
  * Gap in check sequence.

                                           $49.75       Total debits



Daily ledger balance summary
 Date                                    Balance    Date                                Balance
 04/29                                      0.00    04/30                                  0.00
               Average daily ledger balance             $0.00




    (182)
    Sheet Seq = 0000546
    Sheet 00001 of 00002
                                    Case 8:20-bk-03608-CPM              Doc 178            Filed 06/22/20           Page 16 of 23
Account number:                          3523   ■   April 30, 2020 - May 27, 2020      ■   Page 2 of 2




           IMPORTANT ACCOUNT INFORMATION

Effective April 1, 2020, we modified our commercial account agreement to reserve the right to assess a monthly deposit
balance fee on the average positive collected balance in your commercial checking account(s) with us. When and if we
assess the deposit balance fee, the amount of the fee will appear on the periodic statement or client analysis statement
for your account. The deposit balance fee is subject to change by us at any time without notice. For questions about the
modification, you may contact your relationship manager.



Effective June 20, 2020, we are updating the Funds Availability Policy in our Commercial Account Agreement as follows:

In the "Longer delays may apply" section, when a longer delay applies, we are making the following changes:
- The amount of your deposit that may be available on the first business day after the day of your deposit is increasing from $200 to
$225.
- We are changing the check deposit amount exception that may lead to a delay of generally no more than seven business days from
"You deposit checks totaling more than $5,000 on any one day" to "You deposit checks totaling more than $5,525 on any one day."




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       Sheet Seq = 0000547
       Sheet 00002 of 00002
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                                    ATTACHMENT 5B
                           CHECK REGISTER - PAYROLL ACCOUNT

Name of Debtor: CFRA TRI-CITIES, LLC                 Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020               Period ending May 31, 2020

NAME OF BANK: Wells Fargo                              BRANCH:

ACCOUNT NAME: CFRA Tri-Cities, LLC

ACCOUNT NUMBER: *******-3523

PURPOSE OF ACCOUNT:                    PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

               CHECK
DATE           NUMBER         PAYEE                     PURPOSE                         AMOUNT




TOTAL                                                                               $




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                                                ATTACHMENT 4C

                        MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Name of Debtor: CFRA TRI-CITIES, LLC                          Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                        Period ending May 31, 2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found on the United States Trustee website,
http://www.usdoj.gov/ust/r21/index.htm.

NAME OF BANK:              n/a                        BRANCH:

ACCOUNT NAME:                                         ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                      TAX

             Ending Balance per Bank Statement                         $
              Plus Total Amount of Outstanding Deposits                $
              Minus Total Amount of Outstanding Checks and other debits         $                     *
              Minus Service Charges                                    $
             Ending Balance per Check Register                         $                      **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized by
                                                   United States Trustee)
Date      Amount            Payee               Purpose                Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

Date           Amount            Payee              Purpose            Reason for disbursement from this account




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                       ATTACHMENT 5C

                                 CHECK REGISTER - TAX ACCOUNT


Name of Debtor: CFRA TRI-CITIES, LLC                  Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                Period ending May 31, 2020

NAME OF BANK:              n/a                            BRANCH:

ACCOUNT NAME:                                          ACCOUNT #

PURPOSE OF ACCOUNT:                     TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.
http://www.usdoj.gov/ust/
          CHECK
DATE NUMBER               PAYEE                  PURPOSE                            AMOUNT




TOTAL                                                                                             (d)
                                    SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                             (a)
Sales & Use Taxes Paid                                                                         (b)
Other Taxes Paid                                                                               (c)
TOTAL                                                                                _________ (d)


(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements
    (Page MOR-2, Line 5P).
(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5Q).
(d) These two lines must be equal.



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                                         ATTACHMENT 4D

                        INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                                 INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable         Current
Instrument                 Face Value        Purchase Price     Date of Purchase         Market Value
  n/a




TOTAL                                                                                     n/a       (a)
                                        PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

                           (Column 2)             (Column 3)               (Column 4)
                           Maximum                Amount of Petty    Difference between
Location of                Amount of Cash         Cash On Hand (Column 2) and
Box/Account                in Drawer/Acct.        At End of Month    (Column 3)




TOTAL                                             $    n/a           (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                              $     n/a            (c)


(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).



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                                         ATTACHMENT 6

                                    MONTHLY TAX REPORT

Name of Debtor: CFRA TRI-CITIES, LLC                Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020              Period ending May 31, 2020

                                    TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of                   Date                                      Date Last
Taxing                    Payment                                   Tax Return      Tax Return
Authority                 Due        Description        Amount        Filed           Period
  n/a




TOTAL                                               $




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                                                       ATTACHMENT 7

                                 SUMMARY OF OFFICER OR OWNER COMPENSATION

                           SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor: CFRA TRI-CITIES, LLC                               Case Number: 8:20-bk-03610-CPM

Reporting Period beginning May 6, 2020                             Period ending May 31, 2020

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses,
insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.
                                                       Payment
Name of Officer or Owner             Title             Description                       Amount Paid

Not applicable

                                                  PERSONNEL REPORT
                                                                              Full Time             Part Time
Number of employees at beginning of period                                    Not applicable
Number hired during the period                                                Not applicable
Number terminated or resigned during period                                   Not applicable
Number of employees on payroll at end of period                               Not applicable

                                            CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft,
comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
the month (new carrier, increased policy limits, renewal, etc.).

Agent                                                                                                                   Date
and/or                           Phone            Policy                      Coverage                       Expiration Premium
Carrier                          Number           Number                      Type                           Date       Due

Nationwide Insurance Company (770) 512-5034       ACP GLDO 3038080638         Commercial General Liability   1/8/2021
AMCO Insurance Company         (770) 512-5034     ACP CAA 3038080638          Umbrella Liability             1/8/2021
Certain Underwriters at Lloyds (770) 512-5034     AMR-65418-01                Property                       1/8/2021

The following lapse in insurance coverage occurred this month:

Policy                  Date              Date
Type                    Lapsed            Reinstated       Reason for Lapse




     Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.




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                                                  ATTACHMENT 8


                        SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not
reported on this report, such as the sale of real estate (attach closing statement); (2) non-financial transactions, such
as the substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management,
etc. Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before                                  .




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